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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION



UNITED STATES OF AMERICA,
              Plaintiff,
v.                                                     Case No: 04-CR-80482-15

KIEU LY,
              Defendant.
                                                   /


       ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION


       On July 21, 2005, the court sentenced Defendant Kieu Ly to a term of eight

months pursuant to a United States Sentencing Guidelines (U.S.S.G.) 5K1.1 motion

brought by the government. Now pending before the court is Defendant Ly’s

September 13, 2005, Motion for Reconsideration,” which is in essence a motion to be

re-sentenced. Defendant avers that he has only six and a half weeks left to serve.

Plaintiff United States of America filed a response brief on October 4, 2005, asserting

that the court is without jurisdiction to grant the requested relief. The court agrees and,

for the reasons set forth below, the court will deny Defendant’s motion.

                                     I. STANDARD

       Eastern District of Michigan Local Criminal Rule 12.1 states that “Motions in

criminal cases shall be filed in accordance with the procedures set forth in LR 7.1.” E.D.

Mich. LCrR 12.1. Rule 7.1(g) of the Local Rules for the Eastern District of Michigan

provides that a motion for reconsideration shall be granted only if the movant can: (1)

“demonstrate a palpable defect by which the court and the parties have been misled;”
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and (2) show that “correcting the defect will result in a different disposition of the case.”

E.D. Mich. LR 7.1(g)(3). A “palpable defect” is a defect which is obvious, clear,

unmistakable, manifest, or plain. Mktg. Displays, Inc. v. Traffix Devices, Inc., 971 F.

Supp. 262, 278 (E.D. Mich. 1997) (citing Webster’s New World Dictionary 974 (3d ed.

1988)). A motion for reconsideration which presents the same issues already ruled

upon by the court, either expressly or by reasonable implication, will not be granted.

E.D. Mich. LR 7.1(g)(3); Czajkowski v. Tindall & Assocs., P.C., 967 F. Supp. 951, 952

(E.D. Mich. 1997). Under the local rules, “[a] motion for reconsideration must be filed

within 10 days after entry of the judgment or order.”

                                     II. DISCUSSION

       Defendant’s motion is obviously filed far beyond the deadlines set forth in the

Local Rules noted above. In addition, Defendant’s brief contains no citation of law that

might support the contention that a court is authorized to reconsider the imposition of

sentence.

       Further, the Federal Rules of Civil Procedure afford Defendant no relief. Rule

35(a) provides that [w]ithin 7 days after sentencing, the court may correct a sentence

that resulted from arithmetical, technical, or other clear error." Fed. R. Crim. P. 35(a).

Beyond seven days, however, the court has jurisdiction only to amend the sentence

only in conformity with Federal Rule of Criminal Procedure 36, which allows for

sentences to be amended only for clerical errors. United States v. Robinson, 368 F.3d

653, 656 (6th Cir. 2004) (citing Fed. R. Crim. P. 36). Defendant does not seek to




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correct any clerical error but instead seeks to amend his sentence. Thus, the federal

rules do not provide Defendant with an avenue of relief.

       The court would have jurisdiction to consider and to grant a defendant’s petition

under 28 U.S.C. § 2255, but only if it concludes that it was without jurisdiction to impose

the sentence, the sentence was in excess of the maximum authorized by law, or the

sentence is otherwise subject to collateral attack. In United States v. Addonizio, 442

U.S. 178 (1979), the Supreme Court explained that in order for an error of fact or law to

be “otherwise subject to collateral attack”, the error must constitute “a fundamental

defect which inherently results in a complete miscarriage of justice.” Addonizio, 442

U.S. at 185 (citation omitted). The Court noted that in United States v. Tucker, 404 U.S.

443 (1972), it had ordered re-sentencing of a defendant whose sentence had been

imposed at least in part upon “misinformation of constitutional magnitude.” Addonizio,

442 U.S. at 187, 99 S.Ct. 2235. The Supreme Court cautioned that “there is no basis for

enlarging the grounds for collateral attack to include claims based not on any objectively

ascertainable error but on the frustration of the subjective intent of the sentencing

judge.” Addonizio, 442 U.S. at 187

       No such argument is advanced here, and the court can find no other basis upon

which to reconsider or revise Defendant’s sentence.




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                                          III. CONCLUSION

        IT IS ORDERED that Defendant’s “Motion for Reconsideration [Dkt. # 165] is

DENIED.

                                                   S/Robert H. Cleland
                                                  ROBERT H. CLELAND
                                                  UNITED STATES DISTRICT JUDGE


Dated: October 11, 2005


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 11, 2005, by electronic and/or ordinary mail.


                                                   S/Lisa Wagner
                                                  Case Manager and Deputy Clerk
                                                  (313) 234-5522




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